         Case 1:20-cv-00577-GHW Document 54 Filed 09/04/20 Page 1 of 2




UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK


 JUAN PABLO DI BENEDETTO,
 GALESSI HOLDING CORP., AND
 PABLO GRECO, Individually and On
 Behalf of All Others Similarly Situated,

                                    Plaintiff,    Case No.: 1:20-cv-00577-GHW
                        v.

 QUDIAN INC., MIN LUO, and CARL
 YEUNG,

                                    Defendants.



                          NOTICE OF DEFENDANTS
        QUDIAN INC., MIN LUO, AND CARL YEUNG’S MOTION TO DISMISS
             PLAINTIFFS’ AMENDED CLASS ACTION COMPLAINT

       PLEASE TAKE NOTICE that, upon the annexed Declaration of James G. Kreissman,

dated September 4, 2020; the exhibits attached thereto; and the accompanying Memorandum of

Law, Defendants Qudian Inc., Min Luo, and Carl Yeung will move this Court, before the

Honorable Gregory H. Woods, United States District Court Judge, in Courtroom 12C, Daniel

Patrick Moynihan United States Courthouse, 500 Pearl Street, New York, NY 10007, for an

order dismissing Plaintiffs’ Amended Class Action Complaint with prejudice pursuant to Federal

Rule of Civil Procedure 12(b)(6).
        Case 1:20-cv-00577-GHW Document 54 Filed 09/04/20 Page 2 of 2




Dated: September 4, 2020           SIMPSON THACHER & BARTLETT LLP


                                   By: /s/ James G. Kreissman
                                       James G. Kreissman


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                                   Min Luo, and Carl Yeung
